           17-13484-shl              Doc 41           Filed 01/09/18     Entered 01/09/18 23:12:20                       Main Document
                                                                        Pg 1 of 19
  Fill in this information to identify the case:

              PONDEROSA ENERGY LLC
  Debtor name __________________________________________________________________

                                         SOUTHERN
  United States Bankruptcy Court for the:_______________________             NY
                                                                 District of ________
                                                                              (State)
  Case number (If known):      17-13484-SHL
                              _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                     0
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
         Signature Bank
   3.1. _________________________________________________  checking  ####5896
                                                          ______________________                ____ ____ ____ ____                 86
                                                                                                                                  $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1                                                                                                                 86
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                  page 1
          17-13484-shl              Doc 41          Filed 01/09/18        Entered 01/09/18 23:12:20 Main Document
                PONDEROSA ENERGY LLC                                                                        17-13484-SHL
Debtor         _______________________________________________________
               Name
                                                                         Pg 2 of 19   Case number (if known)_____________________________________




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:     29,334
                                 ____________________________ – ___________________________          = ........                   29,334
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                29,334
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
          17-13484-shl
             PONDEROSA Doc 41                  Filed 01/09/18
                                              ENERGY       LLCEntered 01/09/18   23:12:2017-13484-SHL
                                                                                             Main Document
Debtor
                Name
                                                                     Pg 3 of 19
                _______________________________________________________   Case number   _____________________________________
                                                                                                      (if known)




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   Oil Produced
   ________________________________________
                                                     12/5/2017
                                                    ______________         99,840
                                                                         $__________________
                                                                                                 oil price less $4.00
                                                                                                ______________________
                                                                                                                          99,840
                                                                                                                         $______________________
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                       99,840
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used     Current value of debtor’s
                                                                          debtor's interest     for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                           page 3
          17-13484-shl            Doc 41         Filed 01/09/18           Entered 01/09/18 23:12:20 Main Document
                PONDEROSA ENERGY LLC                                                                        17-13484-SHL
Debtor         _______________________________________________________
               Name
                                                                         Pg 4 of 19   Case number (if known)_____________________________________




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
          17-13484-shl            Doc 41        Filed 01/09/18          Entered 01/09/18 23:12:20 Main Document
                 PONDEROSA ENERGY LLC                                                                     17-13484-SHL
 Debtor         _______________________________________________________
                Name
                                                                       Pg 5 of 19   Case number (if known)_____________________________________




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of     Valuation method used     Current value of
                                                                           debtor's interest     for current value         debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________     ____________________    $______________________

   47.2___________________________________________________________          $________________     ____________________    $______________________

   47.3___________________________________________________________          $________________     ____________________    $______________________

   47.4___________________________________________________________          $________________     ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________      ____________________    $______________________

   48.2__________________________________________________________          $________________      ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________      ____________________    $______________________

   49.2__________________________________________________________          $________________      ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   various oil and gas equipment
   ______________________________________________________________          $________________      ____________________      unknown
                                                                                                                          $______________________


51. Total of Part 8.                                                                                                        unknown
                                                                                                                          $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                          page 5
          17-13484-shl             Doc 41          Filed 01/09/18           Entered 01/09/18 23:12:20 Main Document
                PONDEROSA ENERGY LLC                                                                          17-13484-SHL
Debtor          _______________________________________________________
                Name
                                                                           Pg 6 of 19   Case number (if known)_____________________________________




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
         oil and gas leases, royalties
    55.1________________________________________            _________________     $_______________     ____________________
                                                                                                                                 unknown
                                                                                                                                $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                             unknown
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
             17-13484-shl              Doc 41          Filed 01/09/18    Entered 01/09/18 23:12:20 Main Document
                 PONDEROSA ENERGY LLC                                                                      17-13484-SHL
Debtor          _______________________________________________________
                Name
                                                                        Pg 7 of 19   Case number (if known)_____________________________________




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                      debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                     _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                   $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                   $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                   $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                    $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                      $_____________________
   ____________________________________________________________                                                                      $_____________________

78. Total of Part 11.
                                                                                                                                     $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 7
            17-13484-shl Doc 41 Filed 01/09/18 Entered 01/09/18 23:12:20 Main Document
Debtor
                PONDEROSA ENERGY LLC                              Pg 8 of 19
               _______________________________________________________
                                                                                                   17-13484-SHL
                                                                             Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property
                                                                                                          86
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________

                                                                                                          29,334
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.


83. Investments. Copy line 17, Part 4.                                                                   $_______________

                                                                                                          99,840
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.

85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________

                                                                                                                                                 unknown
88. Real property. Copy line 56, Part 9. . .....................................................................................               $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        +    $_______________

                                                                                                          129,260
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                     129,260 ***
                                                                                                                                                                    $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                                page 8
            17-13484-shl                  Doc 41            Filed 01/09/18           Entered 01/09/18 23:12:20                         Main Document
  Fill in this information to identify the case:
                                                                                    Pg 9 of 19
                 PONDEROSA ENERGY LLC
  Debtor name __________________________________________________________________
                                          SOUTHERN
  United States Bankruptcy Court for the: ______________________             NY
                                                                 District of _________
                                                                                        (State)
                                17-13484-SHL
  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     PPF 2 LLC
     __________________________________________                                                                      unknown                              unknown
                                                                 OIL AND GAS PROPERTIES
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
      400 N. ST. PAUL, STE 505
     ________________________________________________________   ___________________________________________________
      DALLAS, TX 75201
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes
                            10/11/2016
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
             17-13484-shl                  Doc 41            Filed 01/09/18               Entered 01/09/18 23:12:20                   Main Document
   Fill in this information to identify the case:                                       Pg 10 of 19
   Debtor            PONDEROSA ENERGY LLC
                    __________________________________________________________________
                                           SOUTHERN
   United States Bankruptcy Court for the: ______________________             NY
                                                                  District of __________
                                                                                              (State)
   Case number        17-13484-SHL
                     ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                     amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________     40,820
                                                                                                                                                  $_________________
      Schedule 2 attached
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
  Debtor
           17-13484-shl
               PONDEROSA ENERGYDoc 41LLCFiled 01/09/18 Entered 01/09/18
              _______________________________________________________
                                                                                  23:12:2017-13484-SHL Main Document
                                                                            Case number (if known)_____________________________________
              Name                                              Pg 11 of 19
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             754,090
                                                                                                                           $________________________________
     Schedule Attached
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
 Debtor
              PONDEROSA
          17-13484-shl        Doc 41 ENERGYFiled 01/09/18  LLCEntered 01/09/18
             _______________________________________________________
                                                                                 23:12:2017-13484-SHL Main Document
                                                                           Case number (if known)_____________________________________
             Name                                              Pg 12 of 19
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                5a.
                                                                                                         40,820
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                5b.   +
                                                                                                         754,090
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                            5c.
                                                                                                         794,910
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page __ of ___
            17-13484-shl                Doc 41      Filed 01/09/18          Entered 01/09/18 23:12:20                      Main Document
                                                                          Pg 13 of 19
 Fill in this information to identify the case:

              PONDEROSA ENERGY LLC
 Debtor name __________________________________________________________________

                                        SOUTHERN
 United States Bankruptcy Court for the:_______________________             NY
                                                                District of ________
                                                                                (State)
 Case number (If known):        17-13484-SHL
                               _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
             Name                        Mailing address                                                  Name
                                                                                                                                             that apply:

 2.1
           PONDEROSA TX OPERATING LLC
         _____________________            745 5TH AVE., STE 537
                                         ________________________________________________________           VARIOUS                           D                   
                                                                                                           _____________________
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G
                                          NEW YORK                NY              10151
                                         ________________________________________________________
                                         City                     State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________           ________________________________________________________          _____________________              D
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G

                                         ________________________________________________________
                                         City                     State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________           ________________________________________________________          _____________________              D
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G

                                         ________________________________________________________
                                         City                     State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________           ________________________________________________________          _____________________              D
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G

                                         ________________________________________________________
                                         City                     State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________           ________________________________________________________          _____________________              D
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G

                                         ________________________________________________________
                                         City                     State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________           ________________________________________________________          _____________________              D
                                         Street                                                                                              E/F
                                         ________________________________________________________                                             G

                                         ________________________________________________________
                                         City                     State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
              17-13484-shl                       Doc 41                Filed 01/09/18                    Entered 01/09/18 23:12:20                                            Main Document
                                                                                                       Pg 14 of 19
 Fill in this information to identify the case:

                      PONDEROSA ENERGY LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       SOUTHERN
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                NY
                                                                                                                 (State)
 Case number (If known):
                                       17-13484-SHL
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         Unknown
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               129,260
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   129,260 ***
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  Unknown
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  40,820
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +     754,090
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................         794,910 ***
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
                                 17-13484-shl            Doc 41        Filed 01/09/18            Entered 01/09/18 23:12:20                     Main Document
                                                                                               Pg 15 of 19

  Ponderosa Energy LLC
  Form 206 E/F
  Part 1: Creditors with PRIORITY Unsecured claim
                                                                                                                                                          Amount of Unsecured Claim
                                                                                                                                  Contingent,                   Deduction for
                                     Point of Contact                                                                                                                           Unsecured
          Name of Creditor                              Phone (Direct) Phone (Mobile)      Email Address    Nature of Claim      Unliquidated or   Total Claim     Value of               As of Date
                                         (Name)                                                                                                                                   Claim
                                                                                                                                   Disputed                        colateral
1 Hutchinson County Tax Office      Blake Newton        806‐359‐3188                    bnewton@pbfcm.com   Tax Lein                               $ 33,508.62                                 1‐Dec
2 Gray County Tax Office            Blake Newton        806‐359‐3188                    bnewton@pbfcm.com   Tax Lein                               $ 7,311.98                                  1‐Dec

                                                                                                                              Total PRIORITY       $ 40,820.60
                                            17-13484-shl            Doc 41              Filed 01/09/18                  Entered 01/09/18 23:12:20                                     Main Document
                                                                                                                      Pg 16 of 19
     Ponderosa Energy LLC
     Form 206 E/F
     Part 2: Creditors with NONPRIORITY Unsecured claim
                                                                                                                                                                                                                 Amount of Unsecured Claim
                                                                                                                                                                                         Contingent,                       Deduction for
                                                            Point of Contact                                                                                                                                                               Unsecured
                         Name of Creditor                                      Phone (Direct)   Phone (Mobile)               Email Address                     Nature of Claim          Unliquidated or   Total Claim        Value of                  As of Date
                                                                (Name)                                                                                                                                                                       Claim
                                                                                                                                                                                           Disputed                          colateral
1    BP Energy Company                                    Joaquin Anderson     713‐323‐0548                      Joaquin.Anderson@bp.com               Unsecured Line of Credit                           $   628,000.00                                    1‐Dec
 2   Chase Productoin Company                             Dustin Chase         806‐420‐1051                      waspenergyllc@hotmail.com             Oil field services                                 $    20,270.00                                  30‐Nov
 3   CRL                                                  Leon Roberts         806‐664‐2646                      lroberts@crlpump.com                  Oil field services                                 $    16,877.18                                  30‐Nov
 4   Energy Transfer Partners                             Jody M. White        469‐646‐1525                      jody.white@energytransfer.com         Low volume fee                                     $     5,374.51                                  16‐Nov
 5   Kel‐Tech, A Claiant Company                          Pooja Panchal        312‐843‐5330                      pooja.panchal@clariant.com            Oil field services                                 $     2,968.65                                     8‐Jul
 6   Midwest Compressor Systems                           Kenny Gerber                                           dgerber@lrssys.com                    Mechins Lein                                       $    20,418.11                                    1‐Sep
 7   Mitchell & Jones                                     Berkley Wren         806‐273‐2857                      berk12903@gmail.com                   Outstanding Legal Bill                             $     5,266.00                                   15‐Sep
 8   Underwood Law Firm, P.C.                             Rob Mckay            806‐379‐0385                      Rob.McKay@uwlaw.com                   Outstanding Legal Bill                             $     7,802.85                                  23‐Aug
 9   Xcel Energy                                          Greg Pereida         806‐640‐5119                      Gregorio.C.Pereida@xcelenergy.com     Outstanding Electric Bill                          $    17,882.52                                  30‐Nov
10   DJʹs Well Service & Roustabout Inc.                  Rebecca Adamson      806‐273‐2667                      radamson@snwoperating.com             Oil field services                                 $     3,720.34                                  15‐Nov
11   Kikiʹs Services LLC                                  Margarita Lujan      806‐886‐1308                      margarita.kikisservices@hotmail.com   Oil field services                                 $     2,374.92                                     8‐Jul
12   Lilling and Company                                  Tom Sherwood         516‐829‐1099                      tsherwood@lillingcpa.com              Accounting Services                                $    10,000.00                                  30‐Nov
13   Miller Consulting                                    Emily Fowler         512‐478‐3456                      emily@milconinc.com                   Texas RRC Consultant                               $     4,516.65                                   15‐Sep
14   TRC Consultants                                      Amanda Hynes         830‐249‐9968                      ahynes@phdwin.com                     Software Training                                  $     1,495.00                                   1‐Aug
15   Davis Geomatics LLC                                  Amie Davis           806‐374‐4334                      adavis@geopro.us                      Land mapping and lease plots                       $     6,688.00                                   25‐Sep
16   Anderson Roustabout & Construction                   Judy Anderson                                          andersonconstruction292@gmail.com     Oil field services                                 $       435.60                                    1‐Dec

                                                                                                                                                                                      Total nonpriority   $   754,090.33
         17-13484-shl               Doc 41      Filed 01/09/18            Entered 01/09/18 23:12:20                   Main Document
                                                                        Pg 17 of 19
 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    01/09/2018
        Executed on ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                     Richard Sands
                                                                ________________________________________________________________________
                                                                Printed name

                                                                    Manager
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
17-13484-shl    Doc 41     Filed 01/09/18     Entered 01/09/18 23:12:20       Main Document
                                            Pg 18 of 19


                       GLOBAL NOTES AND DISCLAIMER
               REGARDING DEBTORS’ SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities and the Statement of Financial Affairs
(collectively, the “Schedules and Statements”) filed by Ponderosa Energy, LLC and GS Energy,
LLC, as debtors and debtors in possession (together, the “Debtors”), in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), were
prepared pursuant to section 521 of title 11, United States Code (the “Bankruptcy Code”) and
Rule 1007 of the Federal Rules of Bankruptcy Procedure, and are unaudited and based upon the
information made available to Richard Sands, as the manager of the Debtors (the “Manager”).

       While the Manger has made a reasonable effort to ensure that the Schedules and
Statements are accurate and complete based on information made available to him by the
Debtors’ employees, agents, consultants and professionals, inadvertent errors may exist and/or
the subsequent receipt of information may result in material changes in financial and other data
contained in the Schedules and Statements that may warrant amendment of the Schedules and
Statements.

        Moreover, because the Schedules and Statements contain unaudited information that is
subject to further review and potential adjustment, there can be no assurance that these Schedules
and Statements are complete and accurate. The Debtors and the Manager reserve the right to
amend the Schedules and Statements from time to time as may be necessary or appropriate.
These Global Notes and Disclaimer Regarding Debtors’ Schedules and Statements (the “Global
Notes”) are incorporated by reference in, and comprises an integral part of, the Schedules and
Statements and should be referred to and reviewed in connection with any review of the
Schedules and Statements.

       1. Information Regarding Liabilities. Except as otherwise noted, all asset and liability
information is as of the date of filing the chapter 11 petitions. The Debtors and the Manager have
made every reasonable effort to determine the amount of each Debtor’s liabilities based on the
information and research conducted in connection with the preparation of the Schedules and
Statements.

        2. Amendments. The Debtors and the Manager reserve their right to amend the
Schedules and Statements in all respects at any time as may be necessary or appropriate,
including, without limitation, the right to dispute or to assert offsets or defenses to any claim
reflected on the Schedules and Statements as to amount, to liability, or to classification, or to
otherwise subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Any
failure to designate a claim as “contingent,” “unliquidated,” or “disputed” does not constitute an
admission by the Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

        3. Estimates and Assumptions. The preparation of the Schedules and Statements
requires the Debtors to make estimates and assumptions that affect the reported amounts of
assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
Schedules and Statements, and the reported amounts of revenues and expenses during the
reporting period. Actual results or recoveries could differ from those estimates.

GLOBAL NOTES                                                                      PAGE 1
17-13484-shl     Doc 41    Filed 01/09/18     Entered 01/09/18 23:12:20        Main Document
                                            Pg 19 of 19



         4. Unknown Amounts. Some of the scheduled liabilities are unknown and unliquidated
at this time. In such cases, the amounts are listed as “Unknown.” Accordingly, the Schedules and
Statements do not accurately reflect the aggregate amount of the Debtor’s liabilities.

       5. Basis of Presentation. These Schedules and Statements do not purport to represent
financial statements prepared in accordance with Generally Accepted Accounting Principles
(“GAAP”), nor are they intended to fully reconcile to any financial statements otherwise
prepared and/or distributed by the Debtors.

       6. Asset Values. It would be prohibitively expensive, unduly burdensome and time
consuming to obtain current market valuations of the Debtors’ property interests, and potentially
affirmative claims, if any. Accordingly, to the extent any asset value is listed herein, and unless
otherwise noted therein, net book values rather than current market values of the Debtors’
property interests, if any, are reflected in the applicable Schedule or Statement.

       7. Setoff or Recoupment Rights. Each Debtor has not included on its Schedule D parties
that may believe their claims are secured through setoff rights, deposits posted by or on behalf of
the Debtor or inchoate statutory lien rights. Such counterparties, if any and if known to the
applicable Debtor, have been listed on Schedule F.

       8. Executory Contracts and Unexpired Leases/Schedule G. While the Debtors and the
Manager have made efforts to identify executory contracts and unexpired leases, the Debtors and
the Manager do not believe that the Debtors are parties to any such contracts. Inadvertent errors
or omissions may have occurred with respect to characterizing contracts and leases and as
“executory contracts” and “unexpired leases” as such terms are used in the Bankruptcy Code.
The Debtors and the Manager hereby reserve all of their rights to dispute the validity, status or
enforceability of any contracts, agreements or leases the Debtors are parties to and to supplement
Schedule G as necessary. Additionally, the Debtors are parties to agreements concerning real
property including oil and gas leases which are not set forth on Schedule G, but instead set forth
in Schedule A/B as real property. The failure to present a contract or agreement on Schedule G
does not constitute an admission that such contract or agreement is not an executory contract or
unexpired lease. The Debtors reserve all of their rights, claims and causes of action with respect
to any contracts and agreements it is a party to, including the right to dispute or challenge the
characterization or the structure of any transaction, document or instrument.

       9. Books and Records. In preparing the Statements, the Manager relied entirely on the
books and records maintained by the Debtors’ employees, consultants and professionals.




GLOBAL NOTES                                                                       PAGE 2
